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                               IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF COLORADO


   Civil Action No. 04-cv-00197-EWN-BNB

   AMERICAN FIRE AND CASUALTY COMPANY, and THE OHIO CASUALTY
   INSURANCE COMPANY,

          Plaintiff,

   vs.

   BCORP CANTERBURY AT RIVERWALK, LLC AS NOMINEE, et al.,

          Defendants.

   ORDER REGARDING JOINT STIPULATED MOTION FOR DISMISSAL OF CERTAIN
                 PARTIES AND CLAIMS WITH PREJUDICE

          THE COURT, having considered the parties’Joint Stipulated Motion for Dismissal of

   Certain Parties and Claims with Prejudice, and being fully advised therein,

          HEREBY FINDS AND ORDERS that the Motion is GRANTED as follows:

                               1. The following Defendants are dismissed from this case with

                  prejudice:    BCORP Canterbury at Riverwalk LLC, as Nominee; BCORP

                  Arlington LLC, as Nominee; BCORP~HRT, LLC; BCORP Management, Inc.;

                  BCORP Holdings Colorado, Inc.; Gary Begg; Kelly Begg (collectively referred to

                  in this Order as the “BCORP Defendants”); and Andrew Graves; Maria Alfaraz;

                  John Hess: Melinda Thomas n/k/a Melinda Hess; Ryan Knutsen; Rosemarie

                  Lumetta; Dana Overby n/k/a Dana Hall; and David Seddon (collectively referred

                  to in this Order as the “Canterbury Defendants”).

                               2. The Court dismisses with prejudice any and all of Admiral’s

                  claims against the BCORP Defendants, except for Admiral’s claims for

                  declaratory relief concerning its contractual indemnity obligations with respect to

                  the Arlington Homeowners’judgments;
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                          3. The Court dismisses with prejudice any and all of Admiral’s

               claims against the Canterbury Homeowners;

                          4. The Court dismisses with prejudice any and all other purported

               claims by and between Admiral, the BCORP Defendants, and the Canterbury

               Homeowners.

                          5. Each Defendant will bear his, her, or its attorney fees and costs

               related to both the pursuit of this lawsuit to date and the preparation and filing of

               the subject motion.

         Dated: December 12, 2006


                                             BY THE COURT,


                                             s/ Edward W. Nottingham
                                             Judge Edward W. Nottingham
                                             United States District Judge
                                             District of Colorado




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